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       ESTATE OF FERAS MORAD, et al
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13
14                            UNITED STATES DISTRICT COURT
15                          CENTRAL DISTRICT OF CALIFORNIA
16 ESTATE OF FERAS MORAD, AMAL                      Case No.: 16-cv-06785-MWF-AJW
   ALKABRA, and AMR MORAD,
17                                                  [Assigned to the Honorable Michael W.
                Plaintiffs,                         Fitzgerald – Courtroom 5A]
18
                    v.
19                                                  PLAINTIFFS’ [PROPOSED] VOIR
   CITY OF LONG BEACH, MATTHEW                      DIRE QUESTIONS
20 HERNANDEZ, ROBERT LUNA,
21                    Defendants.                   Complaint filed:       September 9, 2016
                                                    Trial Date:            June 26, 2018
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       PLAINTIFFS’ [PROPOSED]
       VOIR DIRE QUESTIONS
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 1   TO THE COURT, AND TO ALL PARTIES AND THEIR COUNSEL OF
 2   RECORD:
 3         Pursuant to the Court’s Order re Jury Trial (Dkt. 44), Plaintiffs hereby submit the
 4   following Proposed Voir Dire Questions in addition to the standard questions customarily
 5   asked by the Court.
 6
 7   Proposed Voir Dire Questions
 8         1.    City or town where you live.
 9         2.    Where were you born?
10               a. [If applicable]: When did you come to the U.S.? Under what
11                   circumstances? (At what age? What type of visa?)
12         3.    Occupation and employer. For how long?
13         4.    Do you have supervisory responsibility on your job?
14               (Or: Have you had supervisory responsibilities in the past?)
15               a. Did you have responsibility for recruiting, screening, hiring, firing and/or
16                   for promoting people?
17         5.    What is the highest level of education you completed?
18         6.    What is your marital status?
19               a. Occupation and employer of spouse?
20         7.    If you have children, tell us how many and occupations of adult children.
21         8.    Have you or anyone close to you ever had any training, courses or work
22   experience in any of the following:
23               • Accounting/Bookkeeping
24               • Law
25               • Psychology/Psychiatry/Mental Health
26               • Criminal Justice
27         9.    Do you know any lawyers or judges?
28         10.   Have you ever been on a jury before? Civil or criminal? When? Was a
     PLAINTIFFS’ [PROPOSED]                     -1-
     VOIR DIRE QUESTIONS
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 1   verdict reached? Did you serve as foreperson/presiding juror?
 2         11.    Have you or anyone close to you ever been involved in a lawsuit either as a
 3   plaintiff or a defendant?
 4         12.    Have you ever felt you had reason to sue, but didn’t?
 5                a. Why didn’t you?
 6         13.    Do you know any of the parties or witnesses involved in this case?
 7         14.    Do you have any personal knowledge about the facts of this case?
 8         15.    Is there any reason why you feel you should not serve as a juror in this type
 9   of case?
10         16.    Have you or anyone close to you been the victim of a serious crime whether
11   or not it was reported to law enforcement?
12                a.   What was the crime?
13                b.   Did you have a positive or negative impression of law enforcement as a
14                     result?
15                c.   How do you think that experience will affect you as a juror in a case like
16                     this?
17         17.    Have you, or any close friends or relatives, ever been employed by the Long
18   Beach Police Department?
19         18.    Have you, or any close friends or relatives ever been employed by,
20   volunteered for or otherwise affiliated with any law enforcement agency? This includes
21   police, sheriff, FBI, Highway Patrol, Drug Enforcement Administration, District Attorney,
22   state prisons or county jails, Attorney General, United States Attorney General, United
23   States Attorney, Immigration and Naturalization Services, etc.
24                a. If so, tell me the relation and position that person holds or held.
25         19.    Have you ever had regular contact with anyone in any law enforcement
26   agency through your work, in your neighborhood, or in your social life?
27         20.    Have you ever considered working in law enforcement?
28         21.    Have you had any training, courses, or work experience in law enforcement,
     PLAINTIFFS’ [PROPOSED]                       -2-
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 1   criminal justice, administration of justice, or law?
 2         22.    Would you be more willing to believe the testimony of a law enforcement
 3   officer than another witness who is not a law enforcement officer?
 4         23.    With respect to use of force cases or shooting cases, do you think police
 5   officers have been portrayed unfairly in the media?
 6         24.    Some people feel that the job of people in law enforcement is so difficult and
 7   important that it is wrong to second-guess them by punishing them for wrongdoing which
 8   occurs in the course of their job performance. Or that people these days are too quick to
 9   criticize law enforcement? Do you agree with either of those ideas?
10         25.    Do you think that police officers should have looser standards when they
11   interact with an individual who is under the influence of drugs or alcohol?
12         26.     Do you think that an individual who is under the influence of drugs or
13   alcohol is more likely to be a danger to others?
14         27.    Have you ever had a negative experience with someone who was under the
15   influence of drugs or alcohol?
16         28.    If you find the defendants responsible for the wrongful killing of Feras
17   Morad, you will be asked during this trial to make a determination about the extent of the
18   damage to the plaintiffs, Mr. Morad and his mother and father. Does anyone have a
19   problem with making that kind of determination and awarding compensation for wrongful
20   death damages?
21         29.    Do any of you have any hesitation in putting a dollar amount on the harm
22   caused by the violation of someone’s civil rights? Some people say that is difficult to do,
23   but they are willing to try and others say it’s just impossible and just will not do it. What
24   is your thinking about this issue?
25         30.    You may also be asked to determine if an award of punitive damages is
26   appropriate in this case, and if so, how much is appropriate. Punitive damages are
27   intended to punish a wrongdoer and set an example. Some people have a difficult time
28   with those kinds of damage awards. How do you feel about that issue, about the concept
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     VOIR DIRE QUESTIONS
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 1   of awarding punitive damages in addition to any damage award to compensate plaintiffs?
 2         31.      There may be evidence that Mr. Morad’s mother and father are immigrants
 3   from Egypt and Syria. Has anyone ever had a negative experience with someone from
 4   either of those countryes or any other country in the Middle East? Or any other immigrant
 5   to the U.S.?
 6         32.      Does anyone believe there should be limits on the ability of immigrants from
 7   other countries to bring lawsuits in U.S. courts?
 8
 9   Dated: May 31, 2018                     Respectfully Submitted,
10                                           HADSELL STORMER & RENICK LLP
11
12                                           By: /s/ - Joshua Piovia-Scott
                                                   Barbara Enloe Hadsell
13                                                 Dan Stormer
                                                   Joshua Piovia-Scott
14                                                 Brian Olney
                                             Attorneys for Plaintiffs
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     VOIR DIRE QUESTIONS
